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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            NEW ALBANY DIVISION


JENNIFER CALDERON,                           )
                                             )
                         Plaintiff,          )
                                             )
                  v.                         )       4:06-cv-35-WGH-SEB
                                             )
JOYCE MELHISER and                           )
STATE AUTO,                                  )
                                             )
                         Defendants.         )



              ENTRY ON DEFENDANTS’ MOTION TO DISMISS


                                      Introduction

      This matter is before the Honorable William G. Hussmann, Jr., United

States Magistrate Judge, on Defendants’ Motion to Dismiss filed April 10, 2006.

(Docket Nos. 12-13).1 Plaintiff filed her Response on May 16, 2006. (Docket No.

18). Defendants filed their Reply in Support on May 23, 2006. (Docket No. 19).


                                      Background

      Plaintiff, Jennifer Calderon, is a Kentucky citizen and resident who was

injured in an automobile accident in Clark County, Indiana, on April 7, 2004.

(Complaint ¶¶ 1, 7). The vehicle that Plaintiff was operating was struck by a

vehicle owned and operated by Defendant Joyce Melhiser (“Melhiser”), an Indiana

resident. (Complaint ¶¶ 2, 7-8). Defendant State Auto entered into an insurance


       The parties consented to Magistrate Judge jurisdiction in this case in their
       1

 Case Management Plan filed August 11, 2006. (Docket No. 20). District Judge Sarah
 Evans Barker entered an Order of Reference on August 22, 2006. (Docket No. 23).
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contract with Melhiser covering the vehicle at issue in this case. (Complaint ¶ 9).

Plaintiff filed her Complaint alleging that Melhiser was negligent in the operation

of her vehicle. Plaintiff also includes in her Complaint a second count that alleges

that State Auto failed to act in good faith in settling the claim in violation of

Kentucky Revised Statute 304.12-230. (Complaint ¶ 16).2 Defendants filed the

pending Motion to Dismiss arguing that Count II of plaintiff’s Complaint is without

merit because Kentucky law does not apply.

      The Court concludes that, for the following reasons, defendants’ Motion to

Dismiss should be denied.


                                    Legal Standard

      When ruling on a Rule 12(b)(6) motion to dismiss for failure to state a claim,

the court must accept as true all well-pleaded factual allegations contained in the

complaint, as well as the inferences reasonably drawn therefrom. See Baxter by

Baxter v. Vigo County School Corp., 26 F.3d 728, 730 (7th Cir. 1994). A dismissal

is only appropriate if the plaintiff can establish no set of facts, even if

hypothesized, consistent with the allegations of its complaint that would entitle it

to relief. See Sanjuan v. American Bd. Of Psychiatry and Neurology, Inc., 40 F.3d

247, 251 (7th Cir. 1994), cert. denied, 516 U.S. 1159 (1996). Moreover, the court



        2
         A typographical error occurred in the Complaint. Hence, after paragraph nine
 in the Complaint the numerical sequence begins again at paragraph six and concludes
 with paragraph 14. For clarity’s sake, the Court will refer to the paragraphs according
 to their order in the Complaint. Misnumbered paragraph six will be referred to as
 paragraph ten since it is actually the tenth paragraph. This renumbering will
 continue throughout the Complaint and will conclude with misnumbered paragraph
 14 which will be referred to as paragraph 18 since it is the eighteenth paragraph.

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must only examine the complaint, and not the merits of the lawsuit. See Autry v.

Northwest Premium Services, Inc., 144 F.3d 1037, 1039 (7th Cir. 1998).


                                        Analysis

      This is a suit based on the Court’s diversity jurisdiction. While a federal

court sitting in diversity jurisdiction shall apply its own procedural laws, it must

apply the substantive laws of the state in which it sits. Erie R. Co. v. Tompkins, 304

U.S. 64, 78, 58 S.Ct. 817, 822 82 L.Ed. 1188 (1938); First Nat. Bank and Trust Corp. v.

American Eurocopter Corp., 378 F.3d 682, 689 (7th Cir. 2004). The Court must,

therefore, apply Indiana substantive law. However, ‘[i]f the laws of more than one

jurisdiction arguably are in issue, Erie also requires a federal court to apply [the

forum] state’s choice of law rules.” Jean v. Dugan, 20 F.3d 255, 260-61 (7th Cir.

1994). Thus, the Court must apply Indiana’s choice of law rules. However, in

order to apply Indiana’s choice of law rules it is important to first determine

whether plaintiff’s cause of action is grounded in tort or in contract.

      Plaintiff has pled Count II of her Complaint as a tort under the Kentucky

Unfair Claims Settlement Practices Act. Specifically, the facts pled as relevant to

Count II include that a Contract of Insurance existed between Melhiser and State

Auto. (Complaint ¶ 9). State Auto was given timely notice of the liability claim of

Plaintiff. (Complaint ¶ 11). A demand for settlement was transferred to State

Auto by and through its authorized agent, Brandon Garretson. (Complaint ¶ 13).

And, Garretson declined to offer a settlement in the case. (Complaint ¶ 14).

Plaintiff alleges that State Auto “did fail and refuse to comply with the dictates of



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KRS 304.12-230 and KRS 446.070, in that it failed to attempt to effect a prompt,

fair and equitable settlement of this claim in which liability was clear as to

[Melhiser].” (Complaint ¶ 16). This is clearly a claim that State Auto engaged in

unfair settlement practices, and Indiana has indicated that failure to act in good

faith in settling an insurance claim is a separate tort that is distinct from a breach

of contract claim. See Erie Ins. Co. v. Hickman by Smith, 622 N.E.2d 515, 519

(Ind. 1993). Because Plaintiff has asserted a cause of action sounding in tort, the

Court is obligated to apply Indiana’s choice of law rules for torts.

      In Indiana, the choice-of-law analysis for torts involves multiple inquiries.

Alli v. Eli Lilly and Co., ____ N.E.2d ____, 2006 WL 2684670 (Ind Ct. App. 2006).

First, the Court must determine if there is a true conflict; that is, are there

differences between the laws of the states that are “important enough to affect the

outcome of the litigation”? Simon v. U.S., 805 N.E.2d 798, 805 (Ind. 2004)(quoting

Hubbard Mfg. Co., Inc. v. Greeson, 515 N.E.2d 1071, 1073 (Ind. 1987)). If there is

a conflict between the laws of two states, there is a presumption that the

traditional lex loci delicti rule applies and the Court will apply the substantive law

of “the state where the last event necessary to make an actor liable for the alleged

wrong takes place.” Hubbard, 515 N.E.2d at 1073. This presumption may be

overcome only if the Court determines that the place of the tort bears little

connection to the legal action at issue. Simon, 805 N.E.2d at 805 (internal

citations and quotations omitted).

      In this case there is clearly a conflict between the laws of Indiana and

Kentucky. Under Indiana law an insurance company owes a duty to act in good


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faith toward its insured, but owes no such duty with respect to third party

claimants. Menefee v. Schurr, 751 N.E.2d 757, 760 (Ind. Ct. App. 2001).

Kentucky, however, does allow such third-party claims. State Farm Mut. Auto. Ins.

Co. v. Reeder, 763 S.W.2d 116, 118 (Ky. 1988).

      Because there is a true conflict, the Court must proceed to the presumption

that we will apply the traditional lex loci delicti rule. In this instance, plaintiff

alleges that State Auto engaged in unfair claims settlement practices by not

attempting in good faith to effectuate prompt, fair and equitable settlement of a

claim after liability had already become reasonably clear. Plaintiff asserts in her

Response to Defendants’ Motion to Dismiss Count II that the “undisputed” facts

are that plaintiff was a resident of Kentucky, and State Auto was doing business

in Kentucky, had its agents and employees situated in Kentucky, the claim was

assigned to State Auto’s Louisville claims office, and that all negotiations between

Plaintiff and State Auto occurred in Kentucky.3 Hence, Plaintiff is alleging that the

“acts” that constitute unfair settlement practices were acts that took place in

Kentucky and that Kentucky’s Unfair Claims Settlement Practices Act must apply.

Because the Court concludes that the place of the tort (where the unfair

settlement practices took place) is essential to the legal action at issue, we will

follow the presumption that the traditional lex loci delicti rule applies. And,

because plaintiff has pled a set of facts that, if true, indicate that the tort occurred


        3
         These “undisputed” facts are not supported by affidavit, nor do they appear in
 Plaintiff’s Complaint. Defendant’s Reply in Support does not contest any of these
 allegations. Legal standards for reviewing a Motion to Dismiss allow the Court to
 consider a “hypothetical” set of facts – which the Court does in this case. Further
 discovery of facts may result in a change in the outcome at a later stage in this suit.

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in Kentucky, the Court concludes that Indiana’s choice of law rules call for the

conclusion that Kentucky’s tort laws, including the Kentucky Unfair Claims

Settlement Practices Act, must be applied.


                                    Conclusion

      For the reasons outlined above, Defendants’ Motion to Dismiss is DENIED.

      SO ORDERED.


Dated: 10/13/2006
                                               _______________________________
                                                 WILLIAM G. HUSSMANN, JR.
                                                      Magistrate Judge
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